  Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 1 of 14




                    
               
                             

  !             
  #*%                        (.() $-(+*()&+
                    
                                              $.       
    )#(*-('',                              
                                            
         .                                                      
                                            
   #*%                         
                                             
                                                 
    &'&*%#*-,                
""""""""""""""""""""""""""""""""""" 

            SUPPLEMENTAL DECLARATION OF ROBERT ALLEN

       Pursuant to 28 U.S.C. § 1746, I, Robert Allen, do hereby declare under

penalty of perjury that the following is true and correct:

       1.     My name is Robert Allen. I am over the age of 18, fully competent to

testify to the matters stated in this Declaration, and have personal knowledge

regarding these matters.

       2.     I am a Property & Casualty Practice Leader in the Atlanta office of

USI Insurance Services LLC (“USI”). I make this declaration in further support of

USI’s Motion for Preliminary Injunction and for all other purposes permitted by

law.
  Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 2 of 14




      3.     USI continues to receive notifications that certain of USI’s clients

with whom Plaintiffs previously worked while employed by USI have changed

their broker of record from USI to the Southeast Series of Lockton Companies,

LLC (the “Lockton Companies”).

      4.     On March 23, 2020, USI received a broker of record change letter

providing notice that one of USI’s clients, Go2 Weapons, Inc. (“Go2 Weapons”),

is transferring its insurance brokerage business away from USI to the Lockton

Companies. A true and correct copy of Go2 Weapons’s broker of record change

letter is attached hereto as Exhibit A. The representative of Go2 Weapons who

signed the broker of record change letter, Richard McCourt, was one of the

recipients of Taylor Anderson’s December 9, 2019 email, which USI did not

authorize Mr. Anderson to send, notifying clients of his departure from USI, a true

and correct copy of which is attached to my December 18, 2019 Declaration as

Exhibit J.

      5.     On March 16, 2020, USI received notice from Fred Tavoleti, the

President of Floats and Fuel Cells, Inc. and FFC Services, Inc., that his companies

are switching their insurance brokerage business from USI. A true and correct

copy of an email that USI received from Mr. Tavoleti on March 16, 2020

providing notice of this switch, is attached hereto as Exhibit B. Mr. Tavoleti was

                                        2
  Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 3 of 14




one of the recipients of Dean Anderson’s December 9, 2019 email, which USI did

not authorize Mr. Anderson to send, notifying clients of his departure from USI, a

true and correct copy of which is attached to my December 18, 2019 Declaration as

Exhibit K.

        6.     On April 6, 2020, USI received a broker of record change letter, dated

April 3, 2020, providing notice that one of USI’s clients, World Class Jet, LLC

d/b/a Leviate Jet Management (“Leviate”), is transferring its insurance brokerage

business away from USI to the Lockton Companies. A true and correct copy of

Leviate’s broker of record change letter is attached hereto as Exhibit C. Taylor

Anderson and Dean Anderson both sent their December 9, 2019 emails, which USI

did not authorize them to send, notifying clients of their departures from USI to

representatives of Leviate.     See Exhibits J and K to my December 18, 2019

Declaration.

        7.     If the Plaintiffs are not enjoined from their unfair and unlawful

competition, USI will continue to suffer continuing, additional, and irreparable

harm.

     I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

     Executed on April 6, 2020.

                                           3
Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 4 of 14
Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 5 of 14




               EXHIBIT A
                     Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 6 of 14


Rob Allen

From:                                         Ericka Rankin
Sent:                                         Monday, March 23, 2020 7:13 PM
To:                                           Tiffaney Middleton; Rob Allen; Clark Johnson
Subject:                                      FW: Go2 Weapons, Inc. - USA-4271019
Attachments:                                  Signed BORS -Go 2 Weapons.pdf


All,

Attached is a BOR for Go2 Weapons appointing Lockton as their new broker of record. This was one of Taylor’s accounts
that was transferred to the Select team.




ERICKA RANKIN
Commercial Lines Manager
USI Insurance Services
3475 Piedmont Rd, Suite 800, Atlanta, GA 30305
470.875.0421 | c: 678.637.0646 | f: 610.537.1929
ericka.rankin@usi.com | www.usi.com




EXPERIENCE THE USI ONE ADVANTAGE®
   Our Approach to Delivering Client Solutions ► Watch Video

Please note that you may not rely on email communication to us to report a claim or to give us instructions to place, bind, change or terminate coverage
unless we have subsequently confirmed to you in writing that we have received your message and will be taking the action you have requested.

Confidentiality Notice: The information contained in this email message including any attachments is for the sole use of the intended recipient(s) and may
contain confidential and privileged information. Any unauthorized review, use, disclosure or distribution is prohibited. If you are not the intended recipient and
have received this communication in error, please contact the sender by reply email and destroy all copies of the original message. Thank You.



From: Connor Gorham <connor.gorham@amwins.com>
Sent: Monday, March 23, 2020 1:42 PM
To: Ericka Rankin <ericka.rankin@usi.com>
Subject: Go2 Weapons, Inc. - USA-4271019

CAUTION:
This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and
know the content is safe. If you suspect the email is not legitimate or a phishing email, please forward it as an attachment to
SPAM or contact the Service Desk at x88888.
Hi Maggie,

Please see the attached BOR letter for the captioned insured. You have 5 business days to provide a rescinding letter.
Please let me know if you have any questions.

Thank you,

                                                                                 1
                Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 7 of 14


Connor Gorham
Small Business Broker| AmWINS Access Insurance Services, LLC
T 704.973.4158 | Connor.Gorham@amwins.com
4725 Piedmont Row Drive | Suite 600 | Charlotte, NC 28210 | amwins.com

An AmWINS Group Company
California License #0I18107


We’re more than your partner, we’re on your team.

Requests for Loss Runs may be sent to lossruns.access@amwins.com


This e-mail and any attachments may contain information that is privileged or confidential and is meant solely for the
use of person(s) to whom it was intended to be addressed. If you have received this e-mail by mistake, or you are not
the intended recipient, you are not authorized to read, print, keep, copy or distribute this message, attachments, or any
part of the same. If you have received this email in error, please immediately inform the author and permanently delete
the original, all copies and any attachments of this email from your computer. Thank you amwins.com




                                                            2
Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 8 of 14
Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 9 of 14




               EXHIBIT B
             Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 10 of 14




From:             Vernon O'Neal <vernon.oneal@usi.com>
Sent:             Wednesday, March 18, 2020 7:50 PM
To:               Rob Allen; Clark Johnson; REDACTED
Subject:          Fwd: [SUSPICIOUS]RE: Message from FLOATS&FUELCELL (+19018427144)




REDACTED
Begin forwarded message:

       From: Fred Tavoleti <ftavoleti@ffcfuelcells.com>
       Date: March 16, 2020 at 10:07:14 AM EDT
       To: Vernon O'Neal <vernon.oneal@usi.com>
       Subject: [SUSPICIOUS]RE: Message from FLOATS&FUELCELL (+19018427144)



       Vernon,

       I have thought about this more and I sincerely appreciate your
       offer but at this time we are going to make the move to Dean.

       Please stay in touch, as I have always enjoyed our
       conversations and your insight on various issues extending
       outside of insurance.

       As I stated on the phone I am thankful for what you have done
       for us in the past and we may do business again in the
       future. Over the years I have wondered in my mind if we
       should possibly go out for bid but never have. Maybe over the
       next year or two it may be the thing to do as I now have a
       relationship at two different companies.

       Best regards,
                                                    1
      Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 11 of 14



Fred G. Tavoleti
President
Floats and Fuel Cells, Inc.
FFC Services, Inc.
4010 Pilot Drive, Suit 103
Memphis, TN 38118
901 842 7110

Follow us on twitter.

The information transmitted is intended
only for the person or entity to which it
is addressed and may contain confidential
and/or privileged material. Any review,
retransmission, dissemination or other use
of, or taking of any action in reliance
upon, this information by persons or
entities other than the intended recipient
is prohibited. If you received this in
error, please contact the sender and delete
the material from any computer.

From: Vernon O'Neal <vernon.oneal@usi.com>
Sent: Friday, March 13, 2020 10:29 AM
To: Fred Tavoleti <ftavoleti@ffcfuelcells.com>
Subject: Fwd: Message from FLOATS&FUELCELL (+19018427144)

Just left u message

Vernon O'Neal
+1 770‐329‐9338
Sent from my iPhone

Begin forwarded message:

        From: Cisco Unity Connection Messaging System
        <unityconnection@usivm001.usii.com>
        Date: March 13, 2020 at 11:11:44 AM EDT
                                                2
               Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 12 of 14

                To: Vernon O'Neal <vernon.oneal@usi.com>
                Subject: Message from FLOATS&FUELCELL (+19018427144)


        This e‐mail and any files transmitted with it may contain confidential and/or privileged material. This e‐
        mail is intended solely for the use of the individual or entity to whom it is addressed. If you are not the
        intended recipient or have received this e‐mail in error, please notify the sender by replying to the
        sender. After notifying the sender of the error, you should immediately delete this e‐mail from your
        system. Please be aware that any unauthorized disclosure, dissemination, distribution, duplication or
        use of the e‐mail contents or any attachments therein is strictly prohibited.
This e‐mail and any files transmitted with it may contain confidential and/or privileged material. This e‐mail is intended
solely for the use of the individual or entity to whom it is addressed. If you are not the intended recipient or have
received this e‐mail in error, please notify the sender by replying to the sender. After notifying the sender of the error,
you should immediately delete this e‐mail from your system. Please be aware that any unauthorized disclosure,
dissemination, distribution, duplication or use of the e‐mail contents or any attachments therein is strictly prohibited.




                                                             3
Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 13 of 14




                EXHIBIT C
Case 1:19-cv-05582-VMC Document 109-2 Filed 04/06/20 Page 14 of 14
